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            Exhibit A-14
2/11/25, 7:02 PM                                    Phoenix-based LGBTQ+ clinic stops providing gender affirming care to minors
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      LOCAL        news


     Phoenix-based LGBTQ+ clinic stops providing
     gender affirming care to minors
      Prisma Community Care said they were forced to stop providing gender
      affirming care to minors in order to comply with grant funds to continue their
      broader work
          Posted Feb 11, 2025, 3:54 am

          Joseph Darius Jaafari
          LOOKOUT




            Prisma Community Care, formerly known as the Southwest Center for
            Parsons Center for Health and Wellness.




     The same day Phoenix Children’s Hospital was shown to
     have quietly removed a portion of its transgender care
     services to comply with President Donald Trump's
     executive order denying care to transgender people under
      19 years old, LOOKOUT has learned that Prisma
     Community Care—one of Arizonas oldest and largest
     LGBTQ+ clinics—has done the same in order to comply
     with federal grants and contracts.

     Prisma Community Care, formerly known as the Southwest Center
     for HIV and AIDS, told LOOKOUT it was required to follow guidelines

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      in grants to stop providing gender-affirming care to minors in order
     to continue offering broader services, including HIV and PrEP care.

     Prisma’s Director of Marketing and Community Engagement Iris
     Avila said the provider contacted all affected patients by phone last
     week to inform them of the change. She said Prisma assured them
     that mental health services would still be available and that they
     were working to connect patients with alternative medical
      providers. The provider never made a public statement about the
      decision.

      “Due to President Trump's executive order and our obligations under
     federal grant funding, including our Medicaid and Medicare
     contracts, we were required to comply,’ Avila said. “We are no longer
     able to provide gender-affirming hormone therapy to patients under
      19.”

     Avila noted that only a small percentage of Prisma’s patients were
     affected by the decision.

     LOOKOUT first learned of Prisma’s policy change when a Phoenix-
      based provider, who requested anonymity to avoid being targeted
     for continuing care, reached out. The provider said a 17-year-old
      patient was denied continued treatment at Prisma because they
     were a minor.

     The provider said she had contacted Prisma to inquire about its
     policies after Phoenix Children’s Hospital’s decision affected some
     of her patients. Prisma confirmed it was no longer providing
     gender-affirming care for minors.

     Since LOOKOUT broke the story about Phoenix Children’s Hospital’s
     decision to quietly remove gender-affirming care, community
     organizers have called for a boycott of its services. Many have
     expressed concerns online that the change could have life-
     threatening consequences.




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      For Prisma, Avila said no one at the center was happy about the
     decision, saying that it felt like "whiplash" and emphasized that
     mental health support is still provided during this period, which she
     said was "critical."

      "We do not agree with this. But compliance is necessary in order to
     ensure that we can continue providing the services we have to our
     community,’ she said. “There's no abandoning them."

     Prisma recently had federal funding reinstated after Rep. Yassamin
     Ansari (D-Phoenix) sent a letter to Acting Health and Human
     Services Director Dorothy Fink demanding an explanation for the
     delay in releasing previously promised funds.

     Those funds were initially frozen due to Trump’s executive order,
     which prohibited federal funds from benefiting diversity programs.


      This report was first published by the LOOKOUT.

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